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         BALTIMORE POLICE DEPARTMENT
        CONSENT DECREE MONITORING TEAM
COMPLIANCE REASSESSMENT OF TRANSPORTATION OF PERSONS IN CUSTODY
                               December 2023




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I.     EXECUTIVE SUMMARY

Section IX of the Consent Decree, Transportation of Persons in Custody (¶¶ 222–38), includes
requirements intended to improve transportation equipment, transportation procedures, monitoring
of transportation practices, policies, and training. Those provisions require the Baltimore Police
Department (BPD) to:

       1. Equip all transport vans with seatbelts, holding straps located along the rear
          area of each seat that individuals being transported may grip for security during
          transport, and transport vehicle cameras (TVCs) and all transport cruisers with
          seatbelts (¶¶ 223-24);
       2. Inspect transport vehicles monthly and create logs to memorialize the
          inspections (¶ 225);
       3. Establish and adhere to appropriate procedures for transporting prisoners
          (including using seatbelts, straps, and TVCs) (¶¶ 226-33);
       4. Establish and adhere to protocols for documenting and comprehensively
          auditing prisoner transport events (¶¶ 234-37); and
       5. Revise policies and training curricula to ensure safe, effective prisoner transport
          (¶ 238).

In February 2022, the Monitoring Team filed an Initial Compliance Assessment on the
Transportation of Persons in Custody. That assessment evaluated BPD’s performance in 2021. It
found that, while BPD’ was “On Track” toward compliance in every paragraph relating to
transportation, improvements in performance were still necessary.

The Consent Decree Monitoring Team (the “Monitoring Team”) has now conducted a
comprehensive reassessment of BPD’s compliance with these requirements. This follow-up
review, focusing on BPD performance in 2023, finds that BPD has continued to demonstrate
satisfactory progress. Using the compliance scoring framework the Monitoring Team has adopted,
BPD’s compliance score for the material requirements of the Consent Decree section of the
Transportation of Persons in Custody (¶¶ 222–38) is “Full and Effective Compliance,”
because BPD has reached “Initial Compliance” in every paragraph in the area of
transportation. This means that, should the Court concur that the available evidence indicates
that BPD has reached Full and Effective Compliance with the transportation section of the Decree,
BPD must demonstrate sustained compliance for a period of one year (¶ 504(a)). When BPD can
demonstrate such compliance for this one-year period, the Parties and Court may contemplate
termination of the Decree’s requirements relating to transport.




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To reassess compliance with the Consent Decree’s transport equipment requirements, the
Monitoring Team repeated many of the same assessment procedures used in the initial assessment.
For transport equipment, this included in-person spot checks of transport vehicles and reviewed
BPD’s routine transport vehicle audits. For transport practice and procedure requirements, the
Monitoring Team independently reviewed a representative sample of the randomly selected
transports that BPD has audited over the past two years, as well as a random sample of transports
that were not included in BPD’s audits. The Monitoring Team’s reviews validated BPD’s audits,
and thus the Monitoring Team was also able to rely on BPD audit results for this assessment.

The Monitoring Team’s review found improvement in a number of areas, including:

              Even higher rates of compliance in transport equipment spot checks at BPD
               Districts, meaning that nearly all BPD transport vehicles observed contained
               the appropriate safety equipment (seatbelts, partitions, a TVC system);
              Increased consistency in documentation of BPD’s own vehicle inspections and
               audits, particularly related to information technology required to be operable
               and used in transport vehicles;
              A significant improvement in BPD’s retention of TVC footage of transport
               events, with only one event in a random sample not being available;
              Sustained, high levels of quality with BPD’s internal audits relating to transport;
              The introduction of some new vehicles to the fleet, and expected delivery of
               new wagons with updated TVC technology; and
              Newly digitized documentation of transport events using Axon Records.

The Monitoring Team commends BPD and the City of Baltimore for its sustained efforts and focus
on the transport of individuals in custody. During the course of the Consent Decree, BPD has
moved from an organization whose “transport practices,” per the DOJ’s investigation, “create[d]
a significant risk of harm”1 across a sustained period to one that has implemented policies and
procedures, equipment and technology, and auditing practices to maximize the security and safety
of arrested individuals who BPD is transporting. The results of the Monitoring Team’s assessment
are consistent with an agency that has established an entirely different culture when it comes to
transporting detainees.

Even as BPD’s improvements have brought them into compliance, and thus an overall score of
“5a – Full and Effective Compliance,” additional work will be needed to ensure that this
compliance will be sustained – both for the required one-year period under the Decree and, indeed,



1
    DOJ Findings Letter at 112.


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long after the Decree’s requirements have concluded. The following are further steps BPD must
take to further institutionalize its progress to date and avoid non-compliance:

       (1) Reinforce safe driving practices and medical aid policies. BPD has
           demonstrated that they have internal audit and accountability processes in
           place, such as conducting extra audits each quarter, making PIB referrals based
           on audit findings, and providing additional instruction via roll calls. However,
           the Monitoring Team also expects the rate of problematic transports uncovered
           during audits to decrease, with the aid of proactive supervision, and the effects
           of the accountability and training activity.

       (2) Ensure all wagon drivers have completed required training. Most wagon
           transports reviewed by the Monitoring Team were conducted by individuals
           who completed the required training, however there were some who were
           serving in a “secondary” capacity, and filling in as wagon drivers, despite not
           having documentation of completing the course. The Monitoring Team
           recognizes that (1) all new officers are completing the wagon driving course as
           part of their entry-level training, and (2) BPD is facing staffing challenges. That
           said, we expect that in time all transports will be conducted by drivers with the
           required training, particularly as the number of officers who complete it as part
           of their entry-level training continues to increase.

       (3) Continue to improve transport-related record keeping. The Monitoring
           Team observed measurable improvement in the ability to search and analyze
           transport-related records within BPD’s records management system (“RMS”).
           BPD must nevertheless continue to work to ensure that officers are completely
           and accurately completing the new Transport Log and the Inspection Reports.
           The Monitoring Team found instances where arrest-related injuries were
           reported as transport-related, and where the number of arrestees identified in
           documentation were different than what was captured on video footage. The
           Monitoring Team likewise identified some Inspection Reports that included
           grip strap scores for sedans, none of which are equipped with grip straps, and
           one wagon had video equipment scores of “satisfactory” and “not applicable”
           within the same month.

II.    BACKGROUND

In its initial compliance review of transports from April through October of 2021, the Monitoring
Team found that BPD was “properly equipping its transport cruisers and wagons with the devices
that the Consent Decree requires” and that officers “appear to be doing much of what the Consent




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Decree requires them to do when transporting prisoners from one place to another.”2 However,
the Monitoring Team also determined that “BPD must address several administrative and record-
keeping deficiencies to ensure that these nascent changes in performance are sustained over the
long-term and, therefore, to achieve full compliance with the requirements of Paragraphs 222 –
238 of the Consent Decree.”3

Specifically, in the initial assessment the Monitoring Team made the following findings regarding
compliance:

          BPD transport vehicles were appropriately equipped;
          BPD was routinely completing the required monthly inspections of transport
           vehicles and wagons, and IT inspections of transport wagons;
          BPD personnel were following a number of the required procedures for transporting
           detained individuals;
          BPD was consistently completing the Decree-required audits and spot checks of
           prisoner transport events and was adhering to the agreed upon methodologies for
           doing so;
          BPD had successfully revised its transport policies and provided associated
           training;
          While BPD had created logs to memorialize its transport vehicle inspections, its
           record-keeping processes needed to be improved;
          BPD officers needed to always search detainees before placing them in transport
           vehicles, and BPD auditors needed to be able to ascertain the safety of transport
           officers’ driving practices, including driving speed and observance of other traffic
           safety laws; and
          For BPD’s audits of prisoner transports, BPD still needed to collect better, more
           reliable data.




2
    Compliance Assessment of Transportation of Persons in Custody at 1.
3
    Compliance Assessment of Transportation of Persons in Custody at 2.


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In the initial compliance assessment, the Monitoring Team identified six4 suggested actions for
BPD to take to remedy the deficiencies identified in the initial assessment and come into
compliance:5

        1. Implement a modern fleet management system to maintain a current vehicle
           roster that includes location and maintenance status;
        2. Make Automatic Vehicle Location (AVL) data available to supervisory and
           audit personnel for all prisoner transports;
        3. Implement a digital and/or physical process for securely storing and retrieving
           the transport-related information articulated in Paragraph 232;6
        4. Train all personnel involved in vehicle inspections on how to fill out inspection
           reports accurately and completely;
        5. Develop an accurate, timely, and comprehensive database of all prisoner
           transports conducted, to include the persons involved, vehicle ID and type,
           transport date and time, and location; and
        6. Develop and implement a strategy to ensure transport drivers adhere to policies
           for searching detainees.

Due to limitations in how the transport data could be queried at the time, the initial compliance
assessment did not determine compliance with provisions regarding specific classes such as
separation of genders/gender-identities, youth, and ensuring medical equipment is transported with
the individual. (¶ 229, 230).

        A.       Evaluating Compliance

The Consent Decree Monitoring Team is charged with assessing and reporting on whether the
requirements of the Consent Decree have been implemented. The Monitoring Team, in
collaboration with BPD and DOJ, has previously adopted and used a standardized way of
characterizing BPD’s current status across Consent Decree implementation. Thus, as in both the
initial compliance assessment and previous Semiannual Reports, the transport section and all other
sections of the Consent Decree are scored according to the following framework:


4
 The initial compliance report included a seventh action to insert a question about TVC functionality on the Wagon
Hard Drive Inspection Sheet. This has been removed on account of TVC functionality being documented elsewhere
(Field H on the “Vehicle Inspection and Maintenance Report”).
5
 While the Monitoring Team recommended these steps as the most efficient way to remedy the deficiencies, it did
not mandate them, and invited BPD to propose different paths to reaching compliance.
6
  The initial compliance report referred to Form 12’s, but according to BPD “The nature of Form 12 has changed. In
2021, this was the only form where the information from paragraph 232 was recorded. Since the beginning of 2022,
members are required to enter information into the Transport Form in Axon Records. The only information they are
required to complete in Form 12 is the information needed by CBIF.”


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0 – Not Assessed: The Monitoring Team has yet to assess if the City/BPD has made
progress or complied with the requirement.

1 – Not Started: The City/BPD has not yet demonstrated progress toward
implementing the requirement, possibly in order to work on other, necessary
projects.

2 – Planning/Policy Phase: The City/BPD is addressing the planning and/or policy
provisions for the requirement.

3 – Training Phase: The City/BPD is addressing the training provisions for the
requirement, based on approved policy.

4 – Implementation Phase: The City/BPD is in the implementation phase for the
requirement, having developed any required plan or policy and conducted any
required training, but has not yet demonstrated compliance with the requirement.

       4a – Implementation - Not Assessed: The City/BPD has initiated
       the implementation phase for the requirement, but the Monitoring
       Team has not yet assessed the City/BPD’s progress in
       implementation.

       4b – Implementation - Off Track: The City/BPD is not making
       satisfactory progress toward compliance with the requirement.

       4c – Implementation - On Track: The City/BPD is making
       satisfactory progress toward compliance with the requirement.

       4d – Implementation - Initial Compliance: The City/BPD has
       demonstrated compliance with the requirement but has not sustained
       compliance for the required time period specified in Paragraph 504
       of the Consent Decree.

5a – Full and Effective Compliance: The City/BPD has demonstrated compliance
with all requirements in a Consent Decree section but has not yet sustained
compliance for the time period specified in paragraph 504 of the Consent Decree.
This score applies only to an entire Consent Decree section, not to individual
requirements within a section.

5b – Sustained Compliance: The City/BPD has demonstrated sustained
compliance with all requirements in a Consent Decree section by consistently



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        adhering to all such requirements for the time period specified in paragraph 504 of
        the Consent Decree.

During the initial formal compliance evaluation, the Team assigned individual scores for each
paragraph of the Transportation of Persons in Custody section of the Consent Decree (see
Appendix I for each initial compliance score by paragraph). The Monitoring Team has also
conducted continuous, informal evaluations on Consent Decree requirement progress pertaining
to transport equipment and procedures, including whether BPD has implemented and is adhering
to the required transport policies, and whether they are using the transport equipment correctly and
consistently. Scores based on these ongoing assessment activities have been provided as recently
in the Seventh Semi-Annual Report.7

        B.       The Role and Purpose of this Compliance Assessment

The Monitoring Team has previously described the two major types of assessment that the Consent
Decree requires: (1) compliance reviews, and (2) outcome assessments. Compliance reviews,
which almost always have qualitative elements and may also have quantitative elements, are
evaluations of BPD’s performance across time, incidents, cases, events, and officers that are
conducted to determine if BPD is adhering in practice to the specific requirements of the Consent
Decree. For instance, this compliance review considers, among other things, whether BPD is
adhering to the Decree’s requirements to have transport vehicles equipped with specific
equipment, and whether BPD has made progress on any of the areas highlighted as needing
improvement during prior assessments.

In this way, compliance reviews address whether BPD is meaningfully doing what the Decree
requires across its many requirements. Within the classification scheme that the Monitoring Team
has previously adopted, the purpose of this and other compliance reviews is to determine whether
BPD can be considered to be in initial compliance across a major substantive area of the Consent
Decree.

Outcome assessments are largely quantitative assessments that are “designed to determine whether
the reforms required by the Consent Decree in each area are having a tangible, measurable impact
– whether, independent and apart from BPD’s progress toward compliance with Consent Decree
requirements, policing is changing in the real world.”8 Because the Consent Decree does not
outline any outcome assessments pertaining specifically to transport, the present report focuses on




7
 https://static1.squarespace.com/static/59db8644e45a7c08738ca2f1/t/620c205fdfa1535274047ae2/1644961899345/
7th+Semiannual+Report.pdf
8
 Consent Decree, United States of America v. Police Department of Baltimore City, et al. Case No. 1:17-CV-00099-
JKB (D. Md. Jan. 12, 2017), https://www.justice.gov/opa/file/925056/download


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a systematic compliance review and audit of BPD’s performance with respect to the transport of
persons in custody.

As described in Paragraph 506 of the Consent Decree:

       To achieve “Full and Effective Compliance,” the City and BPD must demonstrate
       that they have (a) incorporated all Material Requirements of this Agreement into
       policy, trained relevant personnel as necessary to fulfill their responsibilities
       pursuant to the material requirements, and ensured that each material requirement
       is being carried out in practice; and (b) shown sustained and continuing
       improvement in constitutional policing as demonstrated by the Agreement’s
       Outcome Assessments.

A core issue in determining whether BPD has reached “initial” compliance with any material
requirement of the Consent Decree is determining whether that requirement “is being carried out
in practice” by BPD. To that end, the Monitoring Team considers the following:

       1. The quality of BPD’s performance across a material span of time, number
          of incidents/events, and number of officers. Successfully carrying out a
          requirement in practice requires more than meeting expectations on one day, in
          one case or event, or for one officer. Instead, it requires adhering to Decree
          requirements across a material span of time, number of incidents, and number
          of officers. In this way, isolated compliance does not establish “initial
          compliance” in practice. At the same time, however, isolated non-compliance
          does not, by itself, eliminate the possibility of systemic compliance. The issue
          is whether, across time, events, and people, BPD is, in aggregate, sufficiently
          doing what the Decree requires.
       2. The severity or significance of deviations from Consent Decree
          requirements, BPD policy, and/or law. In its focus on accountability,
          supervision, and mechanisms for fostering critical self-analysis within BPD, the
          Consent Decree expressly contemplates that BPD must remedy deficiencies in
          departmental and officer performance. Consequently, the Monitoring Team in
          its compliance reviews considers not simply whether BPD’s performance has
          deviated in some instances from the Decree’s requirements but also the severity
          or significance of that deviation.
       3. The extent to which BPD is identifying and appropriately addressing
          problematic performance. Consistent with the Decree, the Monitoring
          Team’s compliance reviews will consider whether, when BPD has deviated
          from policy, law, or Decree requirements, BPD has identified the deviation and,
          if so, if it has appropriately addressed the issue. With respect to Consent Decree
          implementation and meaningful change, BPD is in a different place if a policy


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           deviation is identified and appropriately addressed than if the deviation goes
           unnoticed and unaddressed.
       4. BPD’s progress over time. Where possible, the Monitoring Team aims to
          situate its evaluation of BPD’s performance in terms of progress over time.
          Steady improvement over time suggests positive, meaningful adoption of
          Consent Decree requirements in a way that erratic swings in performance over
          time may not.

Courts regularly apply multi-factor approaches where the application of determinative, bright-line
rules are impossible, do not adequately incorporate the array of relevant circumstances at issue, or
fail to adequately address competing considerations. Even as the test articulated above requires
different considerations to be weighed together, the test is an “objective” one because the
Monitoring Team “must explain how they derived their conclusions from the verifiable facts.”

In applying this multi-factor test for compliance, the first factor – the quality of BPD’s performance
across a material span of time, number of incidents/events, and number of officers – is the initial,
threshold inquiry. If BPD and/or its officers’ performance is not what it should be across a
sufficient number or portion relevant circumstances, then things like progress over time or BPD’s
identification of the issues are unlikely to cure the basic deficiencies with performance. For
example, if BPD meets some Decree requirement in only 25% of cases, the fact that it may have
marked an improvement over time would be unlikely to put BPD into compliance with the
requirement.

Although the multi-factor test for compliance works to ensure that all relevant objective factors
are reasonably weighed, the Monitoring Team seeks to provide guidance to BPD and to the
community about the benchmarks that it expects and how various levels of BPD performance may
shape compliance determinations.

As a working standard, the Monitoring Team considers a compliance rate with any relevant
requirement of 85% or above as possibly, though certainly not conclusively or even presumptively,
consistent with initial compliance. In such instances, the Team weighs the other factors (severity
of deviations, BPD’s identification of noncompliance, and progress over time). Where the Team
determines that BPD has adhered to expectations in 95% or more of relevant circumstances, initial
compliance will be found unless one of the other factors – severity of deviations, BPD
identification of noncompliance, and progress over the time – starkly point in the other direction.

On the other hand, where BPD has adhered to expectations less than 85% of the time, initial
compliance will not be certified unless one of the other factors points definitively in a positive
direction. For instance, if BPD complied with requirements in 80% of relevant circumstances but
the Monitoring Team could certify that the significance or severity of instances where
requirements were not followed was relatively minimal, that BPD identified and took appropriate



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corrective action in instances where requirements were not followed, and BPD had made and
maintained progress over time, then finding initial compliance with the Decree requirement may
be possible.

Additionally, some important requirements apply to, or are activated by, a relatively more limited
number of encounters, incidents, or circumstances. Where the absolute number of instances where
the requirement applies becomes lower, the application of the percentage-based rules of thumb for
determining compliance becomes less useful.

Finally, it is possible that, the Monitoring Team might assign, pursuant to the weighing of factors
outlined above, a score for an individual decree requirement that is lower than the score given in
a prior report. For instance, the score for a particular requirement might move from “4c”
(implementation—on track) to “4b” (implementation—off track).

Ultimately, to establish initial compliance with the Consent Decree’s provisions and to sustain
“full and effective” compliance pursuant to Paragraph 506, BPD must do more than show that it
has technically adopted the pertinent policies, procedures, and protocols. Instead, it must
demonstrate through officers’ actions on the street that, as an agency, it is complying with the
policies. Otherwise, the reforms the Consent Decree requires would be nothing more than “paper”
reforms, with no obligation to police constitutionally in actuality.

The following report outlines the methodology and results of the Monitoring Team’s compliance
assessment of the Transport of Persons in Custody section of the Consent Decree. Consistent with
the findings from DOJ’s initial investigation, and the pertinent paragraphs of the Consent Decree,
and the prior compliance assessment, the compliance review is broken into two general areas:
transport equipment and transport procedures. This assessment will cover compliance with the
central requirements in this area (¶¶ 222–38).

III.   ASSESSMENT OF TRANSPORT EQUIPMENT

The Consent Decree requires that BPD’s transport vehicles be outfitted with the equipment
necessary to protect the wellbeing and safety of the officers, public, and people being transported.
It requires all vehicles used to transport persons in custody to have dividers and sufficient and
functioning seatbelts for each person transported. Additionally, all transport wagons or vans, with
the exception of the Warrant Apprehension Task Force (“WATF”) due to the layout of their vans,
must be outfitted with a strap along the rear of each seat that a person being transported may grip
for security. All transport wagons must also have a functioning transport vehicle camera (“TVC”)
system that both provides a live feed and records activity in all compartments used to transport
persons in custody; this footage is to be maintained by BPD for at least one year. Finally, all
vehicles used to transport persons in custody must be inspected on at least a monthly basis to
ensure that all equipment, including video recording equipment, seatbelts, and straps, are fully
functional.


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As in the initial compliance assessment, the Monitoring Team’s reassessment of BPD’s
compliance with Paragraphs 223, 224, and 225 consisted of (1) first-hand observations and
assessments of all transport vans and a sample of cruisers, (2) assessments of BPD’s internal
transport equipment audits, including data from BPD’s vehicle and IT inspection logs, and (3) a
review of TVC retention.

       A.      Vehicle Equipment Spot Checks

Paragraph 223 of the Consent Decree requires all transport vehicles to be “outfitted with dividers,
contain sufficient and functioning seatbelts,” and that wagons be “outfitted with a strap located
along the rear of each seat.” Paragraph 224 requires wagons to also be “equipped with a
functioning transport vehicle camera.” To assess compliance with equipment requirements
firsthand, Monitoring Team members conducted spot checks of a random selection of prisoner
transport vehicles and all wagons across each of the 9 districts.

As of April 2023, BPD reported having 268 prisoner transport vehicles, and 8 district wagons,
with an additional 3 wagons used by the WATF. Based on the number of total vehicles, the
Monitoring Team members inspected a total of 71 cruisers/SUVs selected at random, to achieve a
95% confidence interval, with a margin of error +10%. As, according to BPD, approximately one-
third of vehicles are undergoing maintenance at any given time, this sample is likely more
representative of the fleet that is currently being used for transports than the confidence interval
suggests. At the time of the spot checks in June 2023, 9 of the 11 total transport wagons were in
service, and each one was checked by the Monitoring Team.

Each Monitoring Team member completed a score sheet while conducting the spot checks,
documenting the following:

       1. Was the vehicle operable?
       2. Was the vehicle equipped with a seatbelt for every potential passenger?
       3. Was a grip strap located along the rear of each seat? (district wagons only)
       4. Was the vehicle outfitted with a divider or partition?
       5. If a TVC is installed, is it capable of recording all compartments where
          prisoners may be transported? (wagons only)

       Findings

In the initial compliance assessment, the Monitoring Team viewed a total of 66 transport
cruisers/SUVs and 14 wagons. In the reassessment, the Monitoring Team viewed 71 transport
cruisers/SUVs and nine wagons. The number of cruisers/SUVs viewed by the Monitoring Team
increased, because during the initial compliance assessment BPD estimated that its prisoner
transport fleet included 220 cruisers/SUVs, whereas in 2023, BPD reported that the number of


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prisoner transport cruisers/SUVs had increased to 268. The number of wagons inspected by the
monitoring team, on the other hand, decreased, because two were out of service and several others
had been removed from the fleet altogether since the initial assessment.

In the initial assessment, two cruisers had broken seatbelts. All of the detainee seatbelts in the
other 64 (97.0%) vehicles, and all vans, were functional. In the reassessment, only one cruiser had
an inoperable seatbelt.9 The seatbelts in the rest of the cruisers (n=70, 98.6%) and all wagons
(n=9, 100%) were functioning.

Four of the 66 cruisers inspected (6.1%) in the initial compliance assessment did not have
partitions between the driver and person being transported. During the reassessment, all 71
cruisers observed had partitions.

Seven of the nine wagons viewed during the reassessment were equipped with partitions and grip
straps. The two that did not have partitions or grip straps were both forward facing configurations.
As in the initial compliance assessment, the Monitoring Team recognizes that the Consent Decree
did not account for different seat configurations and does not conclude that these two vans are out
of compliance.

As in 2022, all wagons observed during the reassessment had a functioning TVC system.

These results, which are even stronger than in the initial assessment, place BPD in
compliance in this area. (Implementation – Initial Compliance (4(d)).

            B.       Weekly District Vehicle Inspection Records

Paragraph 225 of the Consent Decree requires that BPD inspect all vehicles used for the
transportation of persons in custody on at least a monthly basis. BPD provided the Monitoring
Team access to every “Weekly District Vehicle Inspection Record” dating back to 2018. These
forms are handwritten by district inspectors and compiled into PDF files based on week and
district. As with the initial compliance assessment, the only way to accurately identify the number
of unique vehicles inspected each month was to review the handwritten reports individually.

Due to the high volume of inspection records and the way they are maintained, the Monitoring
Team reviewed every form in a three-month period (January 1, 2023, through March 31, 2023), to
determine if each transport vehicle had a documented inspection for each month, and to note the
results of the inspections.




9
    BPD notes that in instances in which the seatbelt is not operable, the vehicle is not used to conduct prisoner transports.


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       Findings

On average, across the nine districts, between 44% and 72% of all district vehicles on the prisoner
transport inventory provided by BPD had at least one inspection each month (Figure 1b). These
overall inspection rates were generally consistent with those observed during the initial compliance
assessment (Figure 1a), though the inspection rates in individual districts varied considerable over
time (e.g., Western’s three-month average dropped from 73% of vehicles to 44%). Notably, three
districts (Northwestern, Southern, and Southwestern) reported having fewer prisoner transport
vehicles during this time period, yet still experienced a decrease in the average percent of vehicles
inspected at least once monthly.

As with the initial assessment, the lack of a centralized fleet database meant that it was not possible
to determine whether vehicles were not inspected because they were temporarily or permanently
out of service, or because BPD failed to comply with the inspection requirement articulated in
Paragraph 225. As such it is possible that the total number of transport vehicles in service for each
district (the denominator) changed each month, based on how many vehicles were out of service.
It is also possible, however, given the reliance on paper records, that some inspections took place,
but records of the inspections were not properly documented or stored.

Because these results are consistent with the initial assessment, which found compliance, and
because the percentage of cars inspected are roughly consistent with the total number of transport
vehicles in service in a given month (as stated above, roughly 1/3, or 33%, of transport vehicles
are typically out of service, so an inspection rate of 66% is likely close to 100% of the vehicles in
service) BPD remains in initial compliance in this area. (Implementation – Initial
Compliance (4(d)).

             Figure 1: Occurrence of Transport Vehicle and Wagon Inspections
   a. Results of Initial Compliance Assessment
                            July         August       September      3-month        Total
                            2021          2021           2021        Average       Vehicles
         Central            35%           52%            42%           43%            31
         Eastern            60%           75%            50%           62%            40
         Northeastern       51%           57%            70%           59%            37
         Northern           34%           52%            45%           44%            29
         Northwestern       80%           84%            76%           80%            25
         Southeastern       58%           48%            45%           51%            31
         Southern           50%           67%            60%           59%            30
         Southwestern       79%           79%            83%           81%            24
         Western            64%           73%            82%           73%            22




                                                                                                    13
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     b. Results of Compliance Reassessment
                               January         February         March           3-month           Total
                                 2023            2023           2023            Average          Vehicles
          Central                70%             61%             64%               65%              33
          Eastern                49%             42%             44%               45%              45
          Northeastern           60%             57%             57%               58%              35
          Northern               62%             62%             71%               65%              21
          Northwestern           73%             59%             68%               67%              22
          Southeastern           49%             66%             51%               55%              35
          Southern               57%             38%             67%               54%              21
          Southwestern           65%             70%             80%               72%              20
          Western                40%             40%             52%               44%              25


         Seatbelt Inspection Documentation

The Consent Decree requires that all vehicles used for prisoner transport, including both wagons
and cruisers, contain functioning seatbelts for each person in custody. BPD assesses seatbelts using
a three-point scale (1: Unsatisfactory, 2: Needs Improvement, 3: Satisfactory); any score below a
3 was considered to be out of compliance with the requirements.

      Figure 2: Seatbelt Scores in All BPD Inspection Reports (January – March 2023)
                            Seatbelt Score                   Frequency         Percent
                            1 – Unsatisfactory                      4            0.2%
                            2 – Improvement Needed                 16            1.0%
                            3 – Satisfactory                    1606            98.0%
                            “Minor Damage”                          3            0.2%
                            “Equipped” or “”                       3            0.2%
                            Blank                                   3            0.2%
                            Illegible                               4            0.2%


The reports reflected that nearly every inspection (98%) found that vehicle had functioning
seatbelts.10 This is slightly higher than the rate observed in the prior assessment (93.4%
satisfactory scores for all August 2021 Inspection Reports), and consistent with observations made
in the field during the Monitoring Team’s spot checks. A total of 23 forms (<1%) indicated that
the seatbelt was not fully functional. Only two vehicles, both from the Western District (shop


10
  Because of how the reports are stored, the scores presented in Figure 2 reflect all BPD inspection reports completed
during the three-month period, the number of individual vehicles found without an operable seatbelt during that time.
Thus, if an individual vehicle was inspected 13 times (every week) and found satisfactory each time, that would appear
as 13 reports in the table. Additionally, the table does not reflect how many times individual vehicles were inspected
or that each vehicle was inspected at least once. While it would be possible to isolate and identify each of the unique
vehicles within the data, that is unnecessary given the number of total inspections and the high rate (98%) of
satisfactory scores.


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numbers 9235 and 9181) received scores less than three on more than one occasion during the
three-month period.11 These results place BPD in compliance with respect to this requirement.
(Implementation – Initial Compliance (4(d)).

           Wagon Inspections

The Monitoring Team found that most BPD wagons are being inspected at least once per month,
as required by the Consent Decree.12 Ten vehicles that were classified as wagons were inspected
at least once over the three-month period reviewed.

               Figure 3: Inspections Per Number of Operable Wagons in Each District
                       (number inspected during month / total wagons in service)
                                                          Jan       Feb      Mar
                                                          2023      2023     2023

                                         Central           1/1       1/1      1/1
                                         Eastern           1/1       1/1      1/1
                                         Northeastern      2/2       2/2      1/2
                                         Northern          1/1       1/1      1/1
                                         Northwestern      0/1       1/1      0/0
                                         Southeastern      1/1       1/1      1/1
                                         Southern          1/1       0/1      1/1
                                         Southwestern      0/0       0/0      1/0
                                         Western           1/1       1/1      1/1

Of the ten wagons that were inspected, only one had a documented grip strap issue: wagon 9546
from the Northern District.13 Inspection documentation was inconsistent regarding whether a grip
strap was present in January (e.g., had scores of both “satisfactory” and “not applicable”), and then
seemingly scored that the grip strap was damaged in both February and March. BPD notes that
some of the documentation issues observed in this section (see Figure 4 notes) will be rectified as
BPD transitions to an electronic inspection sheet, in which members will only be able to select




11
     13 forms used an incorrect value, illegible score, or was missing a score.
12
  The Monitoring Team had some difficultly determining the number of wagons in service each month in each district.
BPD does not have a comprehensive fleet management system that tracks all vehicles. This made it difficult to
determine from the inspection records whether all in-service wagons were inspected each month. The Monitoring
Team relied on the notes from the Wagon IT Inspection Forms to determine how many wagons were allocated to each
district during the three months reviewed. This approach was imperfect. For instance, in March 2023, a Vehicle
Inspection and Maintenance Report was submitted for a wagon in the Southwestern District, but an IT Inspection
Form submitted during that time reported that the Southwestern District did not have any wagons. Nevertheless, the
Monitoring Team’s method was sufficient to assess BPD’s compliance.
13
     BPD notes that 9546 was removed from service entirely by July of 2023, and is no longer in use.


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options appropriate for the type of vehicle (i.e., cruiser/SUV or wagon) and the part of vehicle
(e.g., interior or exterior) being inspected.

All other district wagon inspection reports reflected that the wagon had a functioning grip strap.

      Figure 4: Grip Strap Score Documented in Vehicle Inspection Reports, by Week
                                         January                     February                     March
  District         Shop No.      1    2    3     4        5       1    2    3        4       1    2   3      4
  Central          9552                    3     3        3       3    3    3                     3   3      3
  Eastern          9502               3          3        3       3    3    3                3        3      3
  Northeastern 9514              3    3          3                3    3
  Northeastern 9534                   3    3     3        3       3    3    3        3       3          3    3
  Northern         9546                    3     3       N/A EMD                                             0
  Northwestern 9554                                                      3     3
  Southeastern 9533                   3     3      3      3       3                  3       3     3         3
  Southern         9548                            3                                         3               3
  Southwestern 9514                                                                          3     3
  Western          9547          3    3     3                     3                  3     3            3    3
  A blank space indicates that no report was submitted for the week.
  Possible scores for Grip Straps include: 1 – Unsatisfactory, 2 – Improvement Needed, 3 – Satisfactory, and N/A
  – Not Applicable.
  Grip straps may also be scored using the following codes: M – Missing, MD – Minor Damage, SD – Severe
  Damage, and E – Equipped.
  According to BPD, “EMD” means the vehicle is “equipped with minor damage”. The report does not specify
  when it is appropriate to use a numerical score or a code. A score of “0” only applies to exterior damage.

Overall, the inspections confirmed that the wagons had working TVC systems, with every wagon
found to have a working TVC system at some point during the three-month period. There were,
however, several instances of inconsistent documentation regarding the functionality of the TVC
systems based on the vehicle inspection reports. For five of the ten wagons, there was at least one
instance of a form indicating that there was no TVC system (“N/A”) during the same calendar
month that another form recorded a score of 3 for the same wagon. As this occurred across
multiple wagons and districts, it appears that there is confusion regarding how to score TVC
(Figure 5). The Monitoring Team expects that this self-assessment issue will be resolved,
particularly as new wagons with TVC systems are introduced into the fleet in the coming months.
The results in this area, along with the fact that the remaining issue will become moot with
the introduction of new wagons and updated TVC, place BPD into compliance in this area
(Implementation – Initial Compliance (4(d))).

            Figure 5: TVC Score Documented in Vehicle Inspection Reports, by week

                                      January                      February                   March
District       Shop        1     2      3     4         5     1     2    3       4      1     2   3        4
               No.
Central        9552                     3       3      E    N/A      3    3                   3     3      3
Eastern        9502              3              3      3             3    3      3    N/A           3      3



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                                        January                      February                   March
District         Shop        1    2       3       4       5    1       2    3     4      1      2     3      4
                 No.
Northeastern 9514            E    E               3            E       3
Northeastern 9534                 E       3       E      E     E       3    3     3      3            3      3
Northern         9546                   blank    N/A      3    0                                             3
Northwestern 9554                                                    N/A 3
Southeastern 9533                 3       3       3       3    3                  3             3           N/A
Southern         9548                             E                                      3                   3
Southwestern 9514                                                                        E      3
Western          9547        0 N/A N/A                         3                blank N/A           N/A      0
A blank space indicates that no report was submitted for the week; the word “blank” indicates that a report was
completed, but the TVC field was left blank.
Possible scores TVC include: 1 – Unsatisfactory, 2 – Improvement Needed, 3 – Satisfactory, and N/A – Not
Applicable.
Grip straps may also be scored using the following codes: M – Missing, MD – Minor Damage, SD – Severe
Damage, and E – Equipped. The report does not specify when it is appropriate to use a numerical score or a
code. A score of “0” only applies to exterior damage.

The Monitoring Team found that in some cases supervisors approved inspection reports with errors
in them. For instance, approximately 10% of all forms for cruisers provided a grip strap score for
a sedan even though sedans are not outfitted with grip straps. Other reports approved by
supervisors used the wrong scoring metric, or were not completely filled out. This suggests that
further work on supervision is advisable but is not substantial enough to take BPD out of
compliance in this area. BPD has noted that they are already in the process of building an
electronic inspection sheet within their Axon Records RMS, which will require supervisory
review.

           C.    Weekly Wagon IT Inspections

The Consent Decree requires BPD to “inspect all vehicles used for the transportation of persons in
custody on at least a monthly basis to ensure that all equipment, including video recording
equipment… [is] fully functional” (¶ 225). BPD ITD reviews the TVC systems for storage space
and downloads the footage.

BPD provided the Monitoring Team with the “Wagon Hard Drive Inspection Sheets,” dating back
to January of 2019. BPD completes these forms during the Weekly Wagon IT inspections. The
Monitoring Team reviewed these forms to confirm that the computer hard drive for each BPD
wagon was inspected monthly during this time. As with the Weekly District Vehicle Inspection
Records, the forms were handwritten and then scanned and uploaded into PDF files for each week.

           Findings

As with the initial compliance assessment, the Monitoring Team’s reassessment found that most
wagons’ hard drives were inspected at least monthly (Figure 6). The inspection forms reflected
that the wagons that were not inspected in each month were either “shopped” or “out of service”


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altogether. All wagons that missed an inspection during a particular week because of
circumstances other than being shopped or out of service (e.g., actively conducting a transport
during the inspection period) were reviewed another week during that month. Consequently, this
area is in initial compliance (Implementation – Initial Compliance (4(d))).

The Monitoring Team observed improved consistency between the cover memos and contents of
the inspection reports. The Sixth Semiannual Report and initial compliance assessment identified
this as a problem area, but those issues now appear to have been resolved.

   Figure 6: Transport Wagons with One or More IT Inspections Per Month, by District
                   (number viewed during month / total wagons in service)

                May      Jun      Jul     Aug     Sep      Oct      Nov     Dec      Jan     Feb      Mar      Apr
                2022     2022    2022     2022    2022     2022     2022    2022     2023    2023     2023     2023
 Central         1/1     0/0      0/0      1/1     1/1      1/1     1/1      1/1      1/1     1/1      1/1        1/1
 Eastern         2/2     1/1      2/2      2/2     1/1      1/1     1/1      1/1      1/1     1/1      1/1        1/1
 Northeastern    1/1     1/1      2/2      2/2     2/2      2/2     2/2      1/1      2/2     2/2      2/2        2/2
 Northern        0/0     0/0      0/0      0/0     1/1      1/1     1/1      1/1      1/1     1/1      1/1        1/1
 Northwestern    1/1     1/1      0/0      1/1     1/1      1/1     1/1      1/1      1/1     1/1      0/0        0/0
 Southeastern    2/2     1/1      0/0      2/2     1/1      2/2     2/2      2/2      1/1     1/1      1/1        1/1
 Southern        1/1     1/1      1/1      1/1     1/1      1/1     1/1      1/1      1/1     1/1      1/1        1/1
 Southwestern    0/0     0/0      0/0      0/0     0/0      0/0     0/0      0/0      0/0     0/0      0/0        0/0
 Western         0/0     0/0      0/0      0/0     0/0      1/1     1/1      1/1      1/1     1/1      1/1        1/1
WATF             3/3     3/3      3/3      3/3       3/3     2/2      3/3      3/3      3/3      3/3      3/3   2/2
Denominator reflects number of wagons used for transports each month. Wagons that were “shopped”, undergoing
“preventive maintenance”, or altogether “out of service” every week of a month are not included for that month.

           D.   Assessment of TVC Video Retention

The Consent Decree requires all transport vehicle video recordings to be maintained by BPD for a
period of at least one year, or for longer as required by BPD policy (¶ 224). To assess compliance
with this requirement, the Monitoring Team requested video recordings for a randomly-selected
set of transports.

In the initial assessment, the Monitoring Team confirmed that BPD maintained in its TVC footage
system video for 77 of the 96 detainee transports in the random sample from December 2020 and
January 2021. BPD had reasonable justifications for 7 of the 19 missing videos: two of the
transports were conducted by the WATF, whose wagons did not have TVC installed until 2021,
and five of the transports were conducted by a police cruiser, not a wagon. There was no
explanation, however, for twelve of the missing videos, which represented 12.5% of the sample.
For the missing videos, the Monitoring Team could not determine whether the videos were (1) not
recorded in the first instance, (2) recorded but not retained, or (3) whether BPD had the videos but
could not locate them in their records. Additionally, while reviewing footage during the initial


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assessment, the Monitoring Team noted that many of the wagons did not have the passenger
compartments illuminated while transporting detainees at night. Policy 825, which requires
vehicles be “taken out of service and sent for repairs when safety concerns related to the TVC arise
(e.g., interior dome light stops working, and the compartment is too dark to record)” was enacted
after the footage was recorded, so while this issue was noted, it was not in violation of any policy
at the time.

For the reassessment, the Monitoring Team selected a random sample of 44 TVC videos from the
approximately 845 wagon transports that occurred in August and September of 2022. Using this
sample, the Monitoring Team had a 90% chance of identifying at least one problematic case (i.e.,
a missing video) in the full set of 845, if at least 5% of cases are in fact problematic, based on a
hypergeometric probability calculation.14

The Monitoring Team altered the methodology for confirming videos had been retained during the
reassessment, from how it was performed during the initial assessment, to reduce the time and
resource burden, without compromising the quality of the sample reviewed. During the initial
compliance assessment, the Monitoring Team assessed Paragraph 224, by viewing footage of 96
transports over a series of video conferences with BPD. This was due to the inability to provide
the Monitoring Team with direct access to TVC storage and was further complicated by the way
in which the footage is stored. Ultimately it took several days of Zoom conference screen-shares
to complete this task, which constituted just one of the many steps required to complete the
assessment.

To more efficiently assess BPD’s compliance on this point, the Monitoring Team and the Parties
agreed that the Monitoring Team would identify a smaller random sample (described above). BPD
would then locate the transport footage for each event in the sample and provided a screenshot as
verification. BPD also provided the Monitoring Team a formal, written certification, certifying
that they had completed the required steps and that the screenshots were accurately reflected what
was in their system.

        Findings

BPD was able to confirm that it had retained the TVC video footage for 43 of the 44 transport
events (97.7%) in the random sample. BPD explained that it could not locate one of the 44 videos,




14
   The reassessment sample was smaller than the one used for the initial compliance assessment, because in 2021,
BPD could not determine how many transports were conducted per year, how many used a van or wagon, or how
many had corresponding TVC footage, so a series of workarounds had to be employed to generate a sample. A sample
size of 96 TVC videos was generated based on an estimate of approximately 10,700 total annual transports (regardless
of transport vehicle type). To conserve resources while maintaining a rigorous approach to the assessment, the
hypergeometric probability sample described above was generated.


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because all videos that had been recorded in the involved wagon between July 1 and 4, 2022 had
been mislabeled. (See Appendix III).

Further, based on the images in the screenshots provided, it appears that the issue of the passenger
compartment being insufficiently lit (identified in the initial assessment) has been resolved.

BPD’s improvement from 81.5% to 97.7% reflects that the issues identified in the initial
assessment have been remedied and, along with the correction of the failure to illuminate
passenger areas in wagons, is sufficient to bring BPD into initial compliance in this area.

IV.    ASSESSMENT OF TRANSPORT PROCEDURES

The Consent Decree requires that BPD’s transports of individuals in custody be conducted in a
manner that protects the well-being and safety of the officers, public, and individuals being
transported. This section considers BPD’s current compliance status with respect to the provisions
of Paragraphs 226 through 233, and 238, which all relate to BPD’s procedures for transporting
persons in custody. Additionally, to determine compliance with Paragraphs 234 through 237, the
Team assessed BPD’s own internal processes for self-monitoring with respect to transportation
practices.

As in the initial assessment, the Monitoring Team considered data from BPD audits, the Team’s
own audits, information from BPD’s Use of Force Assessment Unit, and information from BPD’s
Education & Training Section. The Monitoring Team audited BPD transport events in two ways.
First, the Team reviewed a sample of transports that had been audited by BPD to determine
whether BPD’s internal reviews are fair and valid. Second, the Team also reviewed ten additional
transports not previously reviewed by BPD auditors, for an additional level of independent analysis
of BPD’s compliance.

       A.      Detainee Transport Audits

As the Monitoring Team has previously observed, the Consent Decree requirements related to
prison transport cannot be assessed through documentation alone. Accordingly, the Monitoring
Team conducted a thorough review of transport events, from pickup to drop-off.

BPD has been conducting scorecard-based audits of two randomly selected transports in each of
ten commands (nine districts and WATF) every month since January 2020 for a total of 20 audits
per month (see Appendix II for list of scorecard measures). The Monitoring Team has noted that
while the Consent Decree calls for five random audits per quarter from each district, for a total of
45 audits (¶236), BPD has exceeded the requirement by treating WATF as a district, and
conducting an additional audit per district, performing a total of 60 audits per quarter. This is 15
more than the Consent Decree requires, per quarter. In addition to the greater frequency, BPD’s
audits are also broader, assessing not only compliance with the Consent Decree, but also BPD’s



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more robust policy provisions that require more than the Consent Decree. The reassessment
reviewed the audits from a one-year period of June 2022 through May 2023. On an ongoing basis,
a Monitoring Team subject matter expert (“SME”) has been using a random number generator to
select two of BPD’s audits from every month to review independently as a quality assurance
measure. Once the transports are selected, the SME validates each of the data points in the
scorecard and reviews the corresponding body worn camera (“BWC”) footage. The reviewer’s
findings are documented electronically and discussed with BPD monthly.

As in the initial compliance assessment, this review aggregated the SME’s reviews to assess BPD’s
audit process, and to determine whether BPD’s audit data could be used in this assessment. SME
validation data was aggregated from the one-year period of June 2022 through May 2023. In the
24 randomly selected audits, in only 29 (2.9%) out of 984 possible instances (41 questions across
24 audits) did the Monitoring Team member score a field differently than BPD. There was no
pattern to the disparities, regarding which questions were scored differently, nor whether the
reviewer or BPD issued a more favorable score. In nearly every instance the discrepancy was the
result of a technical coding decision (e.g., whether something should be scored as “N/A”). Because
these differences were not systematic, and generally related to coding decisions and not substantive
differences, the Monitoring Team concluded that it could use BPD’s transport audits as a reliable
data source in the Monitoring Team’s assessment.

BPD estimates that approximately 10,521 transports occurred in calendar year 2022. A sample
size of 96 BPD transport audits would thus provide a sufficient margin of error of less than or
equal to +10%. The sample of 240 audits conducted by BPD per year exceeds this threshold.
However, while BPD has been auditing 2 transports per command per month, the transports that
occurred between June 2022 and May 2023 were not evenly distributed across all commands. To
account for this, the Monitor Team supplemented its assessment by reviewing additional transports
that had not previously been audited by BPD: 5 transports from the Central District and 5 from the
Northeast District (i.e., the two districts with the most transports).

In all, the Monitoring Team reviewed a total of 34 transports (the 24 random audits conducted by
the SME over twelve months, plus the reviews of 10 additional transports not previously reviewed
by BPD). The total sample size in the Monitoring Team’s analysis was thus 250: the 240 audits
conducted by BPD and validated by the Monitoring SME and the 10 supplemental Monitoring
Team Reviews. Where these 250 audits found a particular area out of compliance, the Monitoring
Team analyzed the audit findings for the first six months (June through November 2022, “T2a”)
separately from the second six months (December 2022 through May 2023, “T2b”) to determine
which direction, if any, the findings were trending.

BPD has begun to track, and share with the Monitoring Team, when non-compliance uncovered
by audits is referred to PIB. For the purposes of this assessment, the Monitoring Team notes when
these referrals are made, but does not assess the misconduct investigation process or corresponding


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outcomes. Instead, the Monitoring Team will assess that process in its ongoing work assessing
compliance with the Consent Decree’s misconduct and discipline provisions.

   Findings

As stated above, the Monitoring Team analyzed 250 transport events (216 district audits and 24
WATF audits, as well as the Monitoring Team’s 10 supplemental audits) from a one-year period.
The results of this assessment are provided in Appendix II.

               i.    Audit of Equipment-Related Requirements
The Monitoring Team’s audit results showed consistently high levels of compliance (>97%) with
requirements related to equipment such as TVC (questions #1, #2, #41), grip straps (#3),
handcuffing (#9), seatbelts (#15, #16, #17), and body worn cameras (#40). This tracks with the
findings of the prior section of the report, and demonstrates that not only is transport equipment
functional, but also generally used in practice according to policy. The results of the Monitoring
Team’s review of transport events (over 95% compliance) are sufficient to place BPD in
compliance in these areas. (Implementation – Initial Compliance (4(d))).

              ii.    Audit of Responses to Medical Distress
Compliance with the requirement to take immediate action in response to signs of medical distress
or injury (¶233, question #5) has shown some improvement. This requirement involves not just
injuries sustained during transport, but also injuries sustained before the transport, where the
detainee exhibits distress or the injury is noted during the transport. The Consent Decree requires
BPD to ensure medical care in all of those instances, whether or not the injury occurred during the
transport. In the initial assessment, auditors said immediate action was not taken where
appropriate in 21.1% of the reviewed cases (n=4 of 19). In the reassessment the rate of non-
compliance increased to 28.6% (n=10 of 35). However, when the first six months of the
reassessment period are analyzed separately from the second half, it appears that this area is
trending in the right direction: in the first half of the reassessment period, 42.9% of relevant
transports were determined to be non-compliant, whereas only 7.1% of the relevant transports in
the second half were not compliant.

                      Figure 7: Response to Medical Distress Audit Findings
 Did the transporting member take immediate action in response to signs of medical distress or a physical injury?
                     Time Period                           No                Yes           Not Applicable
       Initial Assessment (April – Sept. 2021)              4                 15                110
                                                        (21.1%)            (78.9%)
        Reassessment (June 2022 - May 2023)                10                 25                 215
                                                        (28.6%)            (71.4%)
                         T2a (June – Nov. 2022)             9                 12                 101
                                                        (42.9%)            (57.1%)
                    T2b (Dec. 2022 – May 2023)              1                 13                 114
                                                         (7.1%)            (92.9%)



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Additionally, nine of the ten instances in which members were determined to have not taken
immediate action during the reassessment period were referred to the Public Integrity Bureau
(“PIB”); as of the time of this writing, one referral was exonerated, one not sustained, and one
sustained. The one instance that was not referred to PIB involved an arrestee saying “ow” in
response to being handcuffed.

Per the Monitoring Team’s standard test for compliance, BPD’s rate of compliance places it
outside of the area where compliance can be presumed, necessitating examination of the other
factors laid out above. First, as initial matter, while the compliance rate over the entire year is low,
it has risen to 92.9% over the last six months, placing this most recent performance very close to
the zone of presumed compliance. The second factor, the severity of deviations from requirements
deviation, cuts toward compliance as well – one of the cases of noncompliance involved a detainee
simply saying “ow” when handcuffed, and only one of three completed PIB investigations resulted
in a sustained finding. The third factor, the extent to which BPD is identifying and appropriately
addressing problematic performance, also favors compliance. In particular, BPD has a robust audit
function that has been validated by the Monitoring Team through this compliance review, and,
critically, BPD auditors referred all instances of non-compliance to PIB for investigation. Finally,
BPD’s progress over time, also pushes towards a finding of compliance, with BPD having moved
significantly from 67.1% compliance in the first half of the evaluated year to 92.9% compliance
in the second half. Weighing all of the factors, BPD has reached initial compliance in this
area. (Implementation – Initial Compliance (4(d))).

             iii.   Audit of Transportation Procedures for Persons in Custody
Another area in which there has been some degree of observed non-compliance is regarding
whether the arresting and transporting member searched the detainee before placing them in the
transport vehicle (question #10). This had previously been flagged as an area requiring
improvement in the initial assessment, when detainees were not searched in 15.3% of transports
in which reviewers could make a determination (18 of 129 were scored as “0” and 11 were “unable
to determine”). In the reassessment, the percent of detainees not searched was 10.1% (24 “0”, 11
“unable to determine”).

Again, the rate of compliance with question #10 at 89.9% is outside the zone of presumed
compliance, requiring that the Monitoring Team weigh the other compliance factors. The second
factor (the severity of the deviations from Decree requirements) is neutral – there is nothing either
aggravating or mitigating regarding the failures. The third factor, whether BPD has identified and
addressed problematic performance, is also neutral. On the one hand, BPD has a robust audit
function that has been validated by the Monitoring team. On the other, the Monitoring Team in
this instance found that noncompliance was referred to PIB only half the time.




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The final factor, BPD’s progress over time, however, is sufficient to place BPD in compliance.
First, BPD has improved its compliance for the entire evaluated period from the initial assessment
by 5%. Second, when the first six months of the reassessment period are considered separately
from the second half, BPD’s performance in this area is improving: in the first half of the
reassessment period, 14.0% of relevant transports were determined to be non-compliant, whereas
only 6.5% of the relevant transports in the second half were not compliant. This improvement,
which resulted in BPD improving to a rate of compliance of 93.5%, just below the 95% threshold,
is sufficient to carry BPD into compliance with the requirement that detainees be searched
prior to transport. (Implementation – Initial Compliance (4(d)).))).

                              Figure 8: Arrestee Search Audit Findings

  Did the arresting and transporting member search the detainee before placing him/her in the transport vehicle?




             iv.     Audit of Monitoring Detainees and Other Enforcement Activities
Paragraph 227 of the Consent Decree requires BPD to periodically check persons in custody
through direct observation or video transmission, and not to leave a person in custody unattended
in a transport vehicle. Additionally, Paragraph 227 prevents officers from engaging in any
“unrelated enforcement activities,” while transporting a detainee, barring circumstances involving
imminent risk of death or serious bodily injury. Little change has been observed regarding
periodically checking on detainees via direct observation or video transmission (¶227, question
#20). In the initial assessment, the rate of noncompliance was estimated to be 13.2%, though it
was not possible to make a determination in many cases (15 scored “0”, 14 scored “unable to
determine”). The reassessment found noncompliance to be 14.5% (36 scored “0”, 2 “unable to
determine”), and there was no clear change when the first half of the reassessment period was
compared to the second. The initial assessment found this area to be likely in compliance, but
because many of the audits analyzed during the initial assessment did not address this requirement,
a more robust analysis was required before the Monitoring Team could conclude that BPD was in
compliance.



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In the two other areas of this paragraph – refraining from leaving the detainee unattended and
refraining from engaging in unrelated enforcement activities – the audits found 100% percent
compliance during both the initial and reassessment periods.

Because this second, larger, sample has confirmed the same results as the first assessment, the
Monitoring Team finds BPD in compliance with Paragraph 227. (Implementation – Initial
Compliance (4(d))).

                v.    Audit of Safe Driving Practices
BPD has made sufficient progress to reach compliance in the areas of safe driving practices – both
with regard to speed, and the manner in which the transporting member drives (¶231, question
#33, #34).15 Additionally, following the recommendation in the initial assessment that BPD make
AVL data available, BPD reports that audit personnel can access AVL data, and that supervisors
can request AVL data, and see in Evidence.com the route that patrol officers took when
transporting a detainee. However, it is still not possible to use AVL to determine the speed of the
prisoner transport vehicle. Auditors must crosscheck each individual street’s speed limit with
speed data in a spreadsheet, which is time consuming, and not something that can be expected of
first-line supervisors.

                                  Figure 9: Safe Driving Audit Findings
        Did the transporting member obey the posted speed limit unless a person being transported required urgent
        and emergency medical care? If a person being transported requires urgent and emergency medical care,
        the transporting officer may exceed the posted speed limit, as allowed for emergency vehicles under state
        law.




15
   This element of the assessment has been made more challenging by the fact that determinations could not be made
in more than half of the cases during the initial and subsequent assessment, likely due to issues accessing AVL data.


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           Did the member drive the vehicle in a manner to preserve the safety and security of persons in custody?




BPD’s rate of compliance in these two areas, 79% and 83% respectively, require examination of
the other three factors described above. With respect to the second compliance factor, the instances
of non-compliance are not severe. In most of these cases, the unsafe driving issue was related to
speed, and there were some instances in which the “failing” score was largely the result of the slim
margin of error that BPD has set and allows in its own audits. For example, there were cases in
which transporting officers received a “0” for both safe driving questions (#33 and #34) due to
driving as little as 7 miles per hour above the posted speed limit. BPD allows + 5 miles per hour
in non-emergency situations, which is prudently conservative. Nevertheless, speeds outside of
that limit are still within safe driving practice and in line with the flow of traffic.16 While there
were some situations with clear and concerning speed violations (e.g., driving 61 mph in a 25 mph
zone), it appears that some of BPD’s struggles in this category are likely due to the tight parameters
it has set for itself. While other unsafe driving practices beyond those dealing solely with speed
have persisted, including at least 1 instance of driving an individual that was unrestrained, 20
failures to stop at a stop sign or red light, and 5 uses of a handheld device, only 5 of these identified
instances were severe enough to result in a referral to PIB.

As to the third factor, BPD’s identifying and addressing areas of non-compliance, its robust audit
function and the referrals to PIB of potentially unsafe driving practices are extremely positive
because they require BPD to consider closely the safety of transport vehicle operations, but
accountability regarding driving practices is not exhaustive, likely as a result of the stringent speed
limits imposed on transporting officers. This factor is thus neutral. The final factor is also neutral.
While scores related to speeding improved from the first assessment to the second, the scores for
safe practices generally remained the same. Additionally, there was not a sizable difference in
safe driving practices when the first half of the reassessment period was compared to the second,
suggesting that practices are not yet trending in a positive direction. Ultimately, because the
identified deviations in driving practices are typically not severe, the Monitoring Team finds


16
     See, e.g., U.S. Department of Transportation, National Traffic Speeds Survey III: 2015 (Mar. 2018).


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BPD in initial compliance in this area. (Implementation – Initial Compliance (4(d))).
Nevertheless, as stated above, BPD must continue to improve in this area, improving safe driving
practices and ensuring more instances of unsafe driving identified are sustained by PIB
investigations, to avoid the risk that it falls out of compliance.

Transporting members demonstrated high degrees of communication regarding transfer of custody
(¶234) (100%, question #4), and reporting some of the specific details of the transport via radio or
other field-based reporting (>99% for questions #22, #23, #24, #25, #26). These high scores
place BPD in compliance in this area. (Implementation – Initial Compliance (4(d))).

              vi.    Documentation of Transport Details
As in the initial assessment, compliance with requirements focused on the documentation of
transport details (¶232) remains weaker (Figure 10). While BPD’s audits, appropriately, focus on
whether officers have completed the Transport Form and/or the Charge Information Form (Form
12)17, for purposes of ultimate compliance with the Consent Decree, information regarding
transports is likely captured otherwise in BPD’s records, namely in BWC and computer-aided
dispatch (CAD) data. In certain instances, even when a Form 12 was completed by an officer,
either the form or the BWC was not properly linked to the corresponding event in the RMS. BPD
should continue to press for better documentation using the newly implemented Transport Log in
Axon Records, and ensure that the forms, the BWC, and all relevant records are linked within the
RMS. Nevertheless, the existence of these other records serves as a backup that the Monitoring
Team considered in assessing compliance.

Again, the Monitoring Team looks to the other three factors. With regard to the severity of the
deviation, the issues appear to be an administrative rather than related to policy-adherence, as
Monitoring Team members have found during both assessments that they could see transporting
members completing a Form 12 via body worn camera, yet the form itself could not be located.
Again, as stated above, these errors are likely mitigated, if not entirely corrected, by the existence
of BWC and CAD data that captures the required information.

With regard to the third factor, BPD’s ability to identify and correct areas, according to BPD
personnel, any of the areas that appear in red on the monthly scorecard (i.e., <79% compliance)
are discussed during Comstat, and must be addressed by executive command staff through actions
such as guidance and counseling. BPD states that they have seen improvement in other areas of
the Consent Decree, using this Comstat driven approach to compliance, and hope that Comstat,
coupled with PIB referrals will be successful in addressing the problem areas highlighted above,
such as safe driving. Additionally, Performance Standards Section (“PSS”) personnel went out to




17The Charge Information Form (Form 12) is a paper form also used by the Central Booking Intake Center for their
records.


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roll calls to inform officers about compliance related issues, and also sit with administrative
sergeants to discuss problem areas.

Finally, compliance with documentation and communication requirements detailed in this series
of questions is consistently higher during the reassessment period than during the initial
assessment. The Monitoring Team expects that the digital Transport Log added to Axon Records
in August 2023 will support continued improvement in this area and anticipates observing such in
future assessments. Because the second, third and fourth compliance factors point toward
compliance, the Monitoring Team finds BPD in compliance in this area. (Implementation –
Initial Compliance (4(d))).

    Figure 10: Distribution of Scores for Scorecard Questions Involving Documentation
                        Scorecard Question     Initial Assessment       Reassessment
                                                 % Compliance          % Compliance
                                  22                   100                  100
                                  23                   100                  100
                                  24                   100                  100
                                  25                   100                  99.6
                                  26                   95.3                 99.2
                                  27                   57.1                 79.2
                                 28*                   53.7                 78.3
                                  29                   61.6                 78.8
                                  30                   63.7                 78.8
                                  31                   65.4                 79.6
                                 32*                   69.7                 79.4
                  * Note – although questions 28 and 32 are included in the audit scorecard,
            they do not capture requirements explicitly articulated in a Consent Decree paragraph.

       B.      Quarterly Spot Check Audits

In addition to the after-the-fact reviews of transports, the Consent Decree requires that BPD
conduct random and unannounced spot-checks of at least three transports from each BPD district
to inspect for use of seatbelts and operation of the TVC system each quarter (¶ 236(d)). These
inspections have been documented in separate scorecards that address the two requirements of
Paragraph 236(d), in addition to other Consent Decree requirements and BPD policies (e.g.,
equipment, gender separation, youth/adult separation, medical attention and BWC compliance
requirements). .

Transport inspection data is available dating back to the first quarter of 2019, and scorecards are
available in Excel spreadsheet format beginning with the second quarter of 2020. The initial
assessment reviewed 27 scorecards from the third quarter of 2020 through the second quarter of
2021. This reassessment reviewed data is from transport reports from the third quarter of 2022
through second quarter of 2023.



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    Findings

BPD conducted three random spot checks in each of the nine districts every quarter, for a total
sample of 108 transports reviewed over a one-year period. Slightly less than half (n=49, 45%) of
audits involved wagon transports (in the prior assessment, 67% involved wagons). Again, because
of the way BPD currently maintains transport data, it is not possible to determine if this proportion
is representative of the broader population of transports that occur across districts. Nevertheless,
BPD reports fewer wagons have been available in the time since the initial compliance assessment,
which would logically cause the proportion of wagon transports to total vehicle transports to
decrease.

The 108 audited transports involved 83 different drivers, with most drivers (n=69) being audited
just once. As in the case of the initial audit, there was little variation in the shift time during which
audits occurred. In the initial assessment, all audited transports but one occurred between 7:40am
and 1:55pm; in the reassessment, all audits occurred between 8:54am and 2:20 pm.

The following are the results of the Monitoring Team’s review of the 108 sampled transports in
the initial assessment (Q3 2020 – Q2 2021) and the 108 sampled transports of the reassessment
(Q3 2022 – Q2 2023):

        1. Was the wagon TVC system operating properly?
             Initial Assessment: 100% (n=72)
             Reassessment:        100% (n=49)

        2. Was the prisoner seat belted?
             Initial Assessment: 99% (n=107), 1 PIB referral
             Reassessment:           100% (n=108)

        3. Was a transport vehicle with safety barriers utilized?
             Initial Assessment: 100% (n=108)
             Reassessment:          100% (n=108)

        4. Were males and females separated?
             Initial Assessment: 80% (n=4 of 5 relevant transports), 1 PIB referral
             Reassessment:         100% (n=2)

        5. Were youth in the same vehicle as adult prisoners?
             Initial Assessment: N/A (n=0 relevant transports)
             Reassessment:         N/A (n=0 relevant transports)




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           6. If the prisoner complained of injury, or if there were obvious signs of injury, was the
              prisoner provided medical attention?
                  Initial Assessment: 80% (n=8 of 10 relevant transports), 1 PIB referral (other
                                       instance of non-compliance occurred before PIB referrals
                                       were tracked on scorecard)
                  Reassessment:        83% (n=5 of 6 relevant transports), 1 PIB referral

           7. Was the transporting officer’s BWC activated during transport?
                Initial Assessment: 97% (n=105), 2 PIB referrals, (other instance of non-
                                       compliance occurred before PIB referrals were tracked on
                                       scorecard)
                Reassessment:          98% (n=106), 2 PIB referrals

During the reassessment, the three instances of non-compliance (questions #6 and #7) each
resulted in a PIB referral, reflecting a properly functioning internal accountability mechanism.
Overall compliance rates for these audits were well above 95% (except for categories with very
few samples) and there were only three instances of noncompliance total, all of which were
appropriately addressed by internal mechanisms. Given that finding, and that there was 100%
compliance with the two requirements specifically articulated in Paragraph 236(d) (i.e., whether
the TVC was operating properly, and whether the prisoner was seat belted) the Monitoring Team
finds this area in initial compliance. (Implementation – Initial Compliance (4(d))).

           C.       Assessment of Transport Injury Reports

The Consent Decree requires BPD to employ practices that reduce the likelihood of injury during
transports, and to improve its documentation when injuries do occur. At the time of the initial
assessment, BPD did not document injuries using an electronic form or maintain data
electronically, making analysis difficult. Although Axon Records, BPD’s new RMS, was
launched in July 2021 and configured to record data from the Charge Information Form (Form 12)
in early 2022, analyzing the data entered into the new system was still challenging throughout
2022.18 In August 2023, BPD added a Transport Log in Axon Records that captures information
previously recorded on the Transport Form, and BPD has also improved its ability to extract data
from the Transport Log. With those improvements, BPD can now input and store data on
transportation-related injuries. In the initial assessment the Monitoring Team, lacking this new


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     BPD provided the following additional views on the development of its RMS system:

           “(The challenges were similar to those in the SSA section. See SSA Annual Data Analysis Progress
           Report                           https://www.baltimorepolice.org/sites/default/files/2023-08/2021-
           2022%20Stops%2C%20Searches%2C%20%26%20Arrests%20Progress%20Report.pdf).                        With
           recent improvements to accessing data, coupled with a pivot in August 2023 from a Transport Form
           to a Transport Log that includes additional transport details, BPD is better positioned to store and
           analyze data moving forward.”


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data, attempted unsuccessfully to rely on assessments by the Use of Force Assessment Unit of
transportation-related injuries. In the initial assessment the Monitoring Team was unable to
identify any such referrals in IAPro, BPD’s PIB system.

Each report extracted from Axon Records contains data fields to include information related to
injuries, including:

            Seat belted?
            Perceive arrestee to be in need of medical attention?
            Arrestee have medical equipment?
            Force used on arrestee?
            Arrestee injured during transport?
            Nature of injury and first aid/medical care provided

In the reassessment, BPD searched Transport Form data stored in the Axon Records from March
1, 2022 through August 16, 2023 for transport incidents involving injuries. BPD produced a
spreadsheet of transport incidents in which the officer answered “yes” to whether the arrestee had
been injured during the transport. Additionally, BPD personnel also separately flagged cases for
the Monitoring Team in which injuries occurred during transports.

         Findings

BPD’s search of Axon Records identified 19 transport events between March 1, 2022 and August
16, 2023, during which an officer marked “yes” to the question on the Transport Form that captured
whether an arrestee was injured during a transport.

Although the 19 incidents were labeled as having transportation-related injuries, three were
included in error, and based on the information entered on the forms, most of the injuries occurred
during the arrest. Eleven of the reported injuries, however, did occur during the transport. Those
included: a complaint of head pain following transport vehicle accident; an individual who hit his
head when falling asleep or falling over in vehicle while seat belted; neck injury during suicide
attempt involving a transport vehicle seatbelt; and scrapes and lacerations from escape attempts.
Based on available documentation, it appears that a medic was contacted in each event, and/or the
arrestee was transported to the hospital.19



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   BPD notes that of the eleven injuries that occurred during transports, eight had associated use of force reviews and
one was reviewed by the Crash Unit. Of the eight use of force reviews, seven were found to be within policy and to
have been caused by the arrestee moving in such a manner to cause the injury; one review resulted in a sustained
allegation of neglect of duty. Of the two that did not have use of force or Crash Unit reviews, both arrestees bumped
their head, and one had suicidal ideations; both were transported to the hospital.


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In addition to the Axon Records results, BPD’s Use of Force Assessment Unit personnel identified
for the Monitoring Team, five instances in which arrestees were injured during transports. Only
two were identified during the Axon search, because the other three were not properly filled out
electronically, the officer completing the form having failed to check a box to indicate that there
was an injury. Others within BPD have determined that two of these injuries flagged by the Use
of Force Assessment Unit as involving injuries during transports, in fact occurred prior to the
transport.

Lastly, Paragraph 236(c) of the Consent Decree requires “A review of every injury reported to
have occurred during transportation to determine if there are any trends related to transport policies
and practices”. BPD has advised that this analysis will be included in their forthcoming Use of
Force Report.

Because BPD has continued to work on improving its data management and extraction from
Axon Records, to include the new Transport Log, BPD is in compliance in this area.
(Implementation – Initial Compliance (4(d)).

       D.      Review of Training Records

The Consent Decree requires BPD to “ensure that all officers who drive transport wagons are
provided a training of at least eight hours on safe and humane transportation of persons in custody,
including the requirements of this Agreement, BPD policy and procedures related to transport, safe
driving methods, the identification of medical distress and injuries, and proper restraint
techniques” (¶238). BPD has provided standalone training to officers in this area, and has also
incorporated it into initial training, such that all incoming recruits receive wagon instruction as
part of their basic training curriculum.

The initial compliance assessment, which examined the training history documentation of drivers
of transports selected in the monthly and quarterly BPD audits, found most wagon transports
assessed (70 of 93, or 75.3%) involved officers with documented training.

For the reassessment, BPD was able to provide the Monitoring Team with an inventory of all
wagon transports conducted during a 12-month period (April 21, 2022, through April 20, 2023).
From these 3,518 wagon transports, the Monitoring Team randomly selected a statistically
representative sample of transports (n=94), reflecting a 95% confidence interval, with a +10%
margin of error. These 94 transport events involved 46 BPD drivers. Specialized training records
were queried for the 33 drivers in the sample who completed academy training before wagon
driving was included in the basic training curriculum; documentation of completing academy




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training was queried for the thirteen drivers who completed the academy after wagon instruction
was added to entry level training. 20

        Findings

All 13 of the drivers who completed entry level training after the wagon driving curriculum was
added to initial training, had documentation to demonstrate that they had completed their training.
Of the remaining 33 drivers, 85% (n=28) completed the wagon driver certification since 2015.
The other 5 drivers were each described as “secondary,” to indicate that driving wagons was not
their primary assignment, and that they were temporarily filling the role. When applied to the full
sample, these 5 drivers conducted 8 (8.5%) of the 94 total transports.

In this reassessment, the Monitoring Team found training-related compliance issues were isolated
to drivers who graduated the police academy before wagon training was added to the initial
curriculum. Given the continued improvement in training new personnel, and the staffing related
challenges required use of “secondary” drivers, Paragraph 238 will be scored 4d – Initial
Compliance, with the expectation that in future audits, all wagon transports will be
conducted by individuals who have documented training.

        E.       Compliance with Provisions Protecting Specific Classes

The initial assessment did not review compliance with transportation provisions related to gender
identity or expression, juvenile status, or the transport of medical equipment used by persons with
disabilities (¶ 229, 230), due to limitations in how these events were identified in BPD’s then-
existing data systems. BPD believed that the incidence of transporting individuals of Transgender,
Intersex, and/or Gender Non-conforming identity or expression to be relatively rare, though the
actual frequency is unknown. As a result, it was unlikely for events involving these individuals to
be included in the random audit samples reviewed in this assessment. To account for this, the
Monitoring Team conducted targeted queries in the Axon records management system for
transport events involving these specific classes.

                 i.       Medical Equipment

Paragraph 230 requires medical equipment be “transported to the final destination of the individual
who requires them.” The Monitoring Team assessed compliance with this paragraph by using the
text search functionality within Axon Records to identify cases involving the transport of medical
equipment, and then used linked Evidence.com records to view corresponding footage. The
Monitoring Team searched Transport Forms in Axon Records during a one-year period (July 1,
2022, through June 30, 2023), for the following terms: “wheelchair”, “wheel chair”, “cane”,


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  Such a random sampling was not possible at the time of the initial assessment but could be conducted during this
assessment because of improvements to BPD’s records systems.


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“inhaler”, “oxygen”, “crutch”, and “prosthetic”. This list is not exhaustive of all medical
equipment that may be transported, but identified cases that involved the transport of equipment
in a targeted manner.

The search identified many reports that included medical equipment keywords in the narrative, but
were used to describe a witness, otherwise involved person (e.g., bystander in a wheelchair), or
weapon (e.g., hitting a victim with a cane or crutch), not an arrestee. There were also several
instances in which “prosthetic” returned results, but the arrestees’ prostheses were not removed,
and were thus not transported separately from the individual.

During the 12-month period queried, the following transports were identified as involving the
transport of detained individuals’ medical equipment:

     Figure 11: Results of Keyword Search for Transports Involving Medical Equipment

 Keyword     Keyword      “Arrestee Have Medical         Transport of medical equipment visible on BWC?
 Search                   Equipment and/or Medication”
 Result                   indicated on Transport Form?
 1           Wheelchair   No                             Yes

 2           Wheelchair   Yes                            Yes

 3           Wheelchair   No                             Yes

 4           Wheelchair   No                             Yes

 5           Cane         Yes                            Yes

 6           Inhaler      Yes                            Yes

 7           Inhaler      No                             Not visible, but officer is heard telling arrestee that
                                                         he would inform CBIF about the inhaler

This review of transport of medical equipment did not identify any problematic incidents but did
make clear that Transport Forms are not always accurately documenting the transport of arrestees’
medical equipment. Of the seven transports identified using the keyword search, only three had a
corresponding Transport Form that affirmed that the arrestee had medical equipment and/or
medication. While this shortcoming limits BPD’s own self-monitoring and auditing functions, a
more robust search of narratives and video footage for additional types of medical equipment, and
medication may be possible as the capacity of BPD’s Axon Records system improves, and the new
Transport Log, which launched in August 2023, is used.

The findings of this review, paired with the monthly audits, which found reasonable
accommodations were made during an arrest involving a detainee requiring a medical device 100%
of the time (n=4; scorecard question #7), and that the transporting member followed policies


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related to prescription medications in 4 of 5 relevant situations (scorecard question #8), result in
a score of 4d – Initial Compliance for Paragraph 230.

               ii.     Gender Identity

The Monitoring Team also searched arrestee transports that occurred between July 1, 2022 and
June 30, 2023 to assess compliance with Paragraph 229, which requires that that “males and
females are not transported within the same compartment of a vehicle” and “Transgender, Intersex,
and/or Gender Non-conforming individuals . . . shall be transported with other arrestees of the
same Gender Identity and Expression unless the individual expresses a safety concern or the officer
identifies a safety concern, in which case the individual shall be transported alone.”

In the one-year period searched, 1,846 female arrestees were transported in 1,481 unique transport
events (as some transports involved multiple female arrestees). Of the 1,846 female arrestees,
1,414 (77%) were transported alone according to the corresponding transport forms; 431 (23%)
involved between 1 and 5 other individuals, and one form left the field blank.

During the same period, 20 records indicated that a person involved had a gender of “X”, however
none of these individuals were the arrestee. Instead, in most instances the individual identifying
as “X” were victims or “otherwise involved parties.” Additionally, in several instances it appears
that the personnel completing the report misused the gender “X” to indicate that the gender field
was either “not applicable” or “unknown.”

Video footage was located for 100% (n=50) of the 50 transport incidents that according to the
Transport Forms involved one woman and one other person, which the Monitoring Team
reviewed. Notably, nearly half (46%, n=23) of the 50 transports involved a female being
transported alone despite what was documented in the Transport Form.

Of the remaining 27 transports with video footage, 8 did not involve arrestees, and instead involved
the transport of victims and juveniles. In the remaining 19 unique transport events, females were
transported only with other females 100% of the time.

This initial review of compliance with the requirement that males and females be transported
separately did not identify any violations, which is consistent with the findings of the transport
audits. In the video footage of many of the events, officers could be heard stating to their
colleagues or those being transported, that they needed to ensure males and females were not
transported together. The rate of inaccuracy of the Transport Forms regarding whether the
individual was transported alone, while not taking BPD out of compliance is an issue that BPD
should address to ensure its ability to self-audit going forward to remain in compliance. These
errors are likely due to officers misinterpreting the wording of the field “number of others being
transported.” BPD has advised that it can revise this wording to improve clarity. Additionally,
use of the new Transport Log within Axon Records will likely reduce errors (as it is more user-


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friendly, and includes a field for sex, which was not present in the Transport Form) and all for
more reliable auditing after the fact.

The findings of this review, paired with the monthly audits described earlier, which found that
male and female detainees were transported in separate compartments 100% of the time (n=2;
scorecard question #12), and that a transgender, intersex, and/or gender non-conforming detainee
was transported either alone or with someone of the same gender identity in the one relevant
instance (scorecard question #13), result in a score of 4d – Initial Compliance for this
requirement.

               iii.    Juvenile Status

Lastly, the Monitoring Team searched arrestee transports that occurred between July 1, 2022 and
June 30, 2023 to assess compliance with Paragraph 229, which requires that “to the extent
reasonably apparent, juvenile and adult persons in custody will not be transported in the same
compartments.”

In the one-year period queried, 771 arrested juveniles (i.e., under the age of 18) were transported
in 522 transport events (as some transports involved multiple juvenile arrestees). Of the 771
juvenile arrestees, 564 (73%) were transported alone according to the corresponding transport
forms; 207 (27%) involved between 1 and 5 other individuals.

Video footage was located for 100% (n=50) of the 50 transport incidents that, according to the
Transport Forms, involved one juvenile and at least one other person. As with female transports,
despite the form indicating that the individual was transported with one other person, more than
half (56%, n=28) of the 50 transports viewed involved a juvenile arrestee being transported alone.
This again suggests record keeping issues.

Of the 22 transports with available video footage and more than one individual being transported,
4 did not involve arrestees, and instead involved bringing a victim or missing individual home. In
the remaining 18 unique transport events, there were 3 transports in which it appeared that there
were both adult and juvenile arrestees; in all 3 instances the adult and juvenile were transported
either in separate vehicles or separate wagon compartments.

As with the other areas of this paragraph, this initial review of compliance with the requirement
that juveniles and adults be transported separately did not identify any violations. Again, however,
that BPD should address its record-keeping lapses to ensure its ability to self-audit going forward
to remain in compliance.

Overall, the findings of this review result in a score of 4d – Initial Compliance for this
requirement.




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V.     APPENDIX I: Summary of Compliance Determinations

Consent Decree Paragraph                                                                 Initial       Reassessment
                                                                                      Compliance        Compliance
                                                                                      Score (2022)     Score (2023)

222   The Parties recognize that safe and effective transportation of detainees is        4d               4d
      an essential step in the process of taking a person into custody and must         (Initial         (Initial
      be conducted in a manner that protects the wellbeing and personal               Compliance)      Compliance)
      security of officers, the public, and the people being transported.

      BPD has recently implemented new and/or amended policies regarding
      transportation of passengers and persons in custody. To the extent those
      policies meet the requirements of this Agreement, further revisions are
      not required. BPD will build upon its recently revised policies as
      required by this Agreement to ensure that all detainees are treated in a
      humane manner before, during, and after their transportation, with due
      regard for their physical safety and protection, consistent with sound
      principles of prisoner security.

223   BPD will ensure that all vehicles used by BPD for the transportation of             4d               4d
      persons in custody, including transport wagons or vans and police                 (Initial         (Initial
      cruisers outfitted with dividers, contain sufficient and functioning            Compliance)      Compliance)
      seatbelts for each person in custody they are intended to transport. In
      addition to a seatbelt, BPD will ensure that all transport vans or wagons
      are outfitted with a strap located along the rear area of each seat that
      persons being transported may grip for security during transport.

224   BPD will supplement its existing policies to ensure that all transport              4d               4d
      wagons or vans that are used during prisoner transport are equipped with          (Initial         (Initial
      a functioning transport vehicle camera (“TVC”) system, which includes           Compliance)      Compliance)
      video recording equipment within all compartments used for the
      transportation of persons in custody. The TVC system will display a live
      video to officers located in the driver’s section of the vehicle, and also
      record the video to be preserved for future viewing. The TVC system
      will be used to record every instance of transportation of a person in
      custody, for the duration of the time the person in custody is within the
      vehicle. BPD officers will be prohibited from turning off or disabling the
      TVC system at any point while a person in custody is within the vehicle
      or being loaded into or removed from the vehicle. All transport vehicle
      video recordings will be maintained by BPD for a period of at least 1
      year, or for longer as required by BPD policy.

225   BPD will inspect all vehicles used for the transportation of persons in              4c              4d
      custody on at least a monthly basis to ensure that all equipment,              (Implementation     (Initial
      including video recording equipment, seatbelts, and straps, are fully            – On Track)     Compliance)
      functional.

226   BPD will ensure that every person in custody being transported is                   4d               4d
      secured by a fastened seatbelt or other authorized restraining device, in         (Initial         (Initial
      accordance with existing BPD policy. The number of people being                 Compliance)      Compliance)
      transported in a given vehicle shall never exceed the number of seatbelts
      or other authorized restraining devices in the vehicle.




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Consent Decree Paragraph                                                                Initial       Reassessment
                                                                                     Compliance        Compliance
                                                                                     Score (2022)     Score (2023)

227   BPD will ensure that officers periodically check on the persons in                  4c              4d
      custody during the transport process, either by direct observation or         (Implementation     (Initial
      through live video transmission, in a manner that ensures the safety and        – On Track)     Compliance)
      security of the officers and the people being transported. At no time will
      a person in custody be left unattended in a transport vehicle. BPD will
      ensure that officers who are transporting persons in custody do not
      engage in any unrelated enforcement activities unless failure to act would
      result in imminent risk of death or serious bodily injury.

228   BPD will ensure that officers restrain persons in custody for transport in         4d               4d
      a manner that does not cause undue pain, undue risk of injury, or actual         (Initial         (Initial
      injury to the individual being transported . BPD will prohibit officers        Compliance)      Compliance)
      from transporting any persons who are restrained in a prone position
      (including the so-called “hog-tie” position), or handcuffing persons in
      custody to any part of a vehicle being used for transport.

229   BPD will ensure that males and females are not transported within the               4a              4d
      same compartment of a vehicle. If a vehicle contains only one                 (Implementation     (Initial
      compartment used for transporting persons in custody, BPD will use            – Not Assessed)   Compliance)
      separate vehicles to transport males and females. Similarly, to the extent
      reasonably apparent, juvenile and adult persons in custody will not be
      transported in the same compartments. Transgender, Intersex, and/or
      Gender Non-conforming individuals, as defined in this Agreement, shall
      be transported with other arrestees of the same Gender Identity and
      Expression unless the individual expresses a safety concern or the officer
      identifies a safety concern, in which case the individual shall be
      transported alone.

230   BPD will ensure that wheelchairs, crutches, prosthetic devices, and other           4a              4d
      medical equipment required by persons with disabilities are transported       (Implementation     (Initial
      to the final destination of the individual who requires them. If possible,    – Not Assessed)   Compliance)
      without creating potentially hazardous conditions, such medical
      equipment will be transported in the same vehicle as the individual who
      requires them.

231   Other than the exception listed below, BPD will ensure that all officers            4a              4d
      driving a transport vehicle do not exceed the posted speed limit, and that    (Implementation     (Initial
      the vehicle is driven in a manner that is calculated to preserve the safety   – Not Assessed)   Compliance)
      and security of the persons in custody being transported. If a person
      being transported requires urgent and emergency medical care, the
      transporting officer may exceed the posted speed limit, as allowed for
      emergency vehicles under state law.

232   BPD will ensure that during every instance of transport of a person in              4a              4d
      custody, the transporting officer will communicate the following              (Implementation     (Initial
      information to dispatch or through other field-based reporting, which will    – Not Assessed)   Compliance)
      be recorded and preserved for review:
      a. The location of the vehicle where persons in custody are picked up;
      b. The time that the transportation unit departs the scene where a person
         was taken into custody;



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Consent Decree Paragraph                                                                Initial       Reassessment
                                                                                     Compliance        Compliance
                                                                                     Score (2022)     Score (2023)

      c. How many persons in custody are being transported;
      d. The destination of the vehicle;
      e. The starting and ending mileage on the vehicle;
      f.    The time of arrival at the destination; and
      g. Whether at any time the officer perceived the person in custody to be
         in need of medical attention.

233   BPD will ensure that its officers periodically check on persons in custody          4c              4d
      from the time of arrest to the time of transfer of custody for apparent       (Implementation     (Initial
      signs of medical distress or emergency. When a person in custody                – On Track)     Compliance)
      displays signs of medical distress or physical injury, BPD will ensure that
      officers take immediate action. These actions may vary depending on the
      particular circumstances but may include (a) calling for assistance from
      medical personnel; (b) rendering first aid; or (c) immediately transporting
      the person to a hospital emergency room. Any time that an officer
      perceives that a person in custody is in medical distress or has a physical
      injury, the officer shall communicate this information to his or her
      supervisor.

234   BPD will develop policies and procedures for determining at the point of           4d               4d
      transfer to another agency whether arrested persons were placed at undue         (Initial         (Initial
      risk, harmed, or injured while being transported. This process will            Compliance)      Compliance)
      include gathering and preserving data regarding whether persons were
      adequately restrained by a seatbelt during transport, whether force was
      used during transport, whether the person was injured during transport,
      the nature of the injury, and whether first aid or medical care was
      provided.

235   Every injury that is reported to have occurred during transport will be             4a              4d
      reviewed as a use of force as provided for in Section VII(D), Use of          (Implementation     (Initial
      Force, or, if appropriate, as part of a vehicle crash investigation.          – Not Assessed)   Compliance)

236   BPD will conduct quarterly audits of its transportation process to                                  4d
      determine whether officers are properly following correct transportation                          (Initial
      procedures and that persons in custody who are being transported are not                        Compliance)
      placed at risk of injury. The audits will include:

      a. A review of information for at least five randomly selected instances            4c              4d
         of transport of persons in custody from each police district within the    (Implementation     (Initial
         previous quarter, including reviewing all video recordings associated        – On Track)     Compliance)
         with each instance; reviewing and analyzing location, time, and
         odometer information to calculate the speed that the transport vehicle
         was driven; and reading any reports associated with the arrest,
         detention, and transport of the arrested person;

      b. An analysis of the data collected during the previous quarter in                 4c              4d
         Paragraph 232 of this Section;                                             (Implementation     (Initial
                                                                                      – On Track)     Compliance)




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Consent Decree Paragraph                                                                 Initial       Reassessment
                                                                                      Compliance        Compliance
                                                                                      Score (2022)     Score (2023)

      c. A review of every injury reported to have occurred during                         4c              4d
         transportation to determine if there are any trends related to transport    (Implementation     (Initial
         policies and practices; and                                                   – On Track)     Compliance)

      d. Random and unannounced spot-checks of at least three                             4d               4d
         transportation vehicles from each BPD district to inspect for use of           (Initial         (Initial
         seatbelts and operation of the TVC system.                                   Compliance)      Compliance)

237   Whenever, through auditing or otherwise, it is determined that an officer            4c              4d
      did not comply with BPD policies and procedures, BPD will take                 (Implementation     (Initial
      appropriate action, including the initiation of disciplinary procedures.         – On Track)     Compliance)

238   BPD will review and revise its policies, procedures, and trainings                   4c              4d
      associated with the transportation of persons in custody to ensure             (Implementation     (Initial
      compliance with the requirements of this Agreement. BPD will ensure              – On Track)     Compliance)
      that all officers who drive transport wagons are provided a training of at
      least eight hours on safe and humane transportation of persons in
      custody, including the requirements of this Agreement, BPD policy and
      procedures related to transport, safe driving methods, the identification of
      medical distress and injuries, and proper restraint techniques. Up to four
      hours of the training required under this section may be satisfied by
      general training programs, which may include units regarding the
      requirements of the Agreement that are relevant to the safe transportation
      of detainees, including the identification of medical distress and injuries,
      and proper restraint techniques.




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      VI.      APPENDIX II: Detainee Transport Scorecard

      Note: “T1” refers to the initial assessment period; “T2” refers to the reassessment period. If a
      particular area was found to be out of compliance during T2, the Monitoring Team analyzed the
      audit findings for the first six months (June - November 2022, “T2a”) separately from the second
      six months (December 2022 - May 2023, “T2b”) to determine which direction, if any, the
      findings were trending.

                                                                Time                               Not        Unable to
                     Scorecard Measure                                        0          1
                                                               Period                            Applicable   Determine
1   Was the transport vehicle equipped with a functioning        T1            1          55        71            2
    transport vehicle camera (TVC) system?                                  (1.8%)     (98.2%)
                                                                T2                        94        153
                                                                                      (100.0%)
2   Did the transporting member conduct a function test to      T1                        53        73             3
    ensure the TVC was operating properly and contained                               (100.0%)
    sufficient available memory before each tour of duty?       T2                        92        158
                                                                                      (100.0%)
3   Was the transport van outfitted with a grip strap along     T1             2          46        81
    the rear area of each seat?                                             (4.2%)     (95.8%)
                                                                T2                        76        174
                                                                                      (100.0%)
4   Did the transporting and the receiving member               T1                       118         9             2
    communicate transfer of custody?                                                  (100.0%)
                                                                T2                       229        21
                                                                                      (100.0%)
5   Did the transporting member take immediate action in        T1             4          15        110
    response to signs of medical distress or a physical                    (21.1%)     (78.9%)
    injury?                                                     T2            10          25        215
                                                                           (28.6%)     (71.4%)
                                                                     T2a       9          12        101
                                                                           (42.9%)     (57.1%)
                                                                   T2b         1          13        114
                                                                            (7.1%)     (92.9%)
6   If the officer perceived that a person in custody was in    T1                        10        111            8
    medical distress or had a physical injury, did the                                (100.0%)
    officer communicate this information to his/her             T2                        16        215            19
    supervisor?                                                                       (100.0%)
7   Did the transporting member make a reasonable               T1                         1        128
    accommodation for an arrest involving a detainee with                             (100.0%)
    a disability requiring wheelchairs, crutches, prosthetic    T2                        4         246
    devices, or other medical equipment required by                                   (100.0%)
    persons with disabilities?
8   Did the transporting member determine if the detainee       T1             3                    112            14
    was under any prescribed medication prior to                           (100.0%)
    transporting him or her from the detention facility,        T2             1         4          205            40
    mental health facility or hospital, and ensured that the                (20.0%)   (80.0%)
    medication accompanied the detainee in sufficient
    quantity to cover the anticipated time in departmental
    custody?
9   Was the detainee handcuffed prior to transport?             T1                       129
                                                                                      (100.0%)



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                                                                 Time                              Not        Unable to
                      Scorecard Measure                                       0          1
                                                                Period                           Applicable   Determine
                                                                  T2                     250
                                                                                      (100.0%)
10   Did the arresting and transporting member search the        T1            18        100                       11
     detainee before placing him/her in the transport                       (15.3%)    (84.7%)
     vehicle?                                                    T2            24        213                       13
                                                                            (10.1%)    (89.9%)
                                                                      T2a      16         98                       8
                                                                            (14.0%)    (86.0%)
                                                                    T2b         8        115                       5
                                                                             (6.5%)    (93.5%)
11   If the detainee was searched, did the transporting          T1             3         28        94             4
     member refrain from conducting a cross-gender                           (9.7%)    (90.3%)
     search, absent exigent circumstances, or if                 T2             1         42        203            4
     impracticable ?                                                         (2.3%)    (97.7%)
12   Were male and females detainees transported in              T1                        1        128
     separate compartments?                                                           (100.0%)
                                                                 T2                       2         248
                                                                                      (100.0%)
13   Were transgender, intersex, and/or gender non-              T1                                 129
     conforming detainees transported with other arrestees       T2                       1         249
     of the same gender identity and expression or were                               (100.0%)
     they transported alone after expressing a safety
     concern or if a safety concern was apparent to the
     officer?
14   Were juvenile and adult detainees transported in            T1                       2         127
     separate compartments (when it is reasonably apparent                            (100.0%)
     that the juvenile is a juvenile)?                           T2                                 250

15   Were all passengers, regardless of age and seat             T1            1         128
     location, restrained by a seatbelt or other authorized                 (0.8%)     (99.2%)
     restraining device before transport commenced?              T2            2         247         1
                                                                            (0.8%)     (99.2%)
16   Did the transporting member confirm the detainee was        T1                      129
     not restrained in a manner that caused undue pain,                               (100.0%)
     undue risk of injury, actual injury or a prone position     T2            7         242                       1
     (including the so called “hog-tie”)?                                   (2.8%)     (97.2%)
17   Did the transporting member refrain from handcuffing        T1                      129
     detainees to any part of the vehicle used for transport?                         (100.0%)
                                                                 T2                      250
                                                                                      (100.0%)
18   Did the transporting member refrain from leaving the        T1                      129
     detainee unattended in the transport vehicle?                                    (100.0%)
                                                                 T2                      250
                                                                                      (100.0%)
19   Did the transporting member refrain from engaging in        T1                      129
     unrelated enforcement activities, unless failure to act                          (100.0%)
     would result in imminent risk of death or serious           T2                      250
     bodily injury?                                                                   (100.0%)




                                                                                                              42
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                                                                 Time                              Not        Unable to
                      Scorecard Measure                                       0          1
                                                                Period                           Applicable   Determine
20   Did the transporting member periodically check on the        T1           15        99          1            14
     detainee by direct observation or live video                           (13.2%)   (86.8%)
     transmission from the time of the arrest to the time of     T2            36       212                        2
     transfer of custody?                                                   (14.5%)   (85.5%)

                                                                      T2a      16        106
                                                                            (13.1%)    (86.9%)
                                                                    T2b        20        106                       2
                                                                            (15.9%)    (84.1%)
21   Did the transporting member take action if a detainee       T1            2           4        123
     became unrestrained?                                                   (33.3%)    (66.7%)
                                                                 T2            3          14        187            46
                                                                            (17.6%)    (82.4%)
                                                                      T2a                 6         94             22
                                                                                      (100.0%)
                                                                    T2b        3           8        93             24
                                                                            (27.3%)    (72.7%)
22   Did the transporting member report, via radio/Charge        T1                      128                       1
     Information Form, Form 12, the number of detainees                               (100.0%)
     in custody that were being transported?                     T2                      250
                                                                                      (100.0%)
23   Did the transporting member report, via radio/Charge        T1                       78        49             2
     Information Form, Form 12, the location where the                                (100.0%)
     detainee(s) were picked up by the transport vehicle (if     T2                       23        227
     different from arrest location)?                                                 (100.0%)
24   Did the transporting member report, via radio/Charge        T1                      128                       1
     Information Form, Form 12, the location of the                                   (100.0%)
     detainee(s) destination?                                    T2                      250
                                                                                      (100.0%)
25   Did the transporting member report via radio/Charge         T1                      127                       2
     Information Form, Form 12, when the transporting                                 (100.0%)
     vehicle departed the scene with dispatch providing the      T2             1        249
     official timestamp?                                                     (0.4%)    (99.6%)
26   Did the transporting member report via radio/Charge         T1             6        122                       1
     Information Form, Form 12, when the transportation                      (4.7%)    (95.3%)
     vehicle arrived at the destination with dispatch            T2             2        248
     providing the official timestamp?                                       (0.8%)    (99.2%)
27   Did the transporting member report, via Charge              T1            54         72                       3
     Information Form, Form 12, the starting and ending                     (42.9%)    (57.1%)
     mileage on the vehicle?                                     T2            52        198
                                                                            (20.8%)    (79.2%)
28   Did the transporting member report, via Charge              T1            57         66                       6
     Information Form, Form 12, whether the transport                       (46.3%)    (53.7%)
     vehicle made any additional stops?                          T2            54        195                       1
                                                                            (21.7%)    (78.3%)
29   Did the transporting member report, via radio/ Charge       T1            48         77                       4
     Information Form, Form 12, whether the detainee                        (38.4%)    (61.6%)
     requested medical attention, was perceived to be in         T2            53        197
     need of medical attention, injured during transport, the               (21.2%)    (78.8%)
     nature of the injury, and if first aid or medical care
     was provided?




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                                                                Time                               Not        Unable to
                      Scorecard Measure                                       0          1
                                                               Period                            Applicable   Determine
30   Did the transporting member report, via Charge              T1           45          79                      5
     Information Form, Form 12, whether force was used                     (36.3%)     (63.7%)
     during transport?                                          T2            53         197
                                                                           (21.2%)     (78.8%)
31   Did the transporting member report, via Charge             T1            44          83                       2
     Information Form, Form 12, whether the detainee was                   (34.6%)     (65.4%)
     adequately restrained by the seatbelt?                     T2            51         199
                                                                           (20.4%)     (79.6%)
32   Did the transporting member submit all completed           T1            37          85                       7
     Charge Information Forms, Form 12, to their                           (30.3%)     (69.7%)
     supervisor by the end of their tour of duty?               T2            51         196                       3
                                                                           (20.6%)     (79.4%)
33   Did the transporting member obey the posted speed          T1            17          15         3             94
     limit, unless a person being transported required                     (53.1%)     (46.9%)
     urgent and emergency medical care? If a person being       T2            21          79                    150
     transported requires urgent and emergency medical                     (21.0%)     (79.0%)
     care, the transporting officer may exceed the posted            T2a      6           25                       91
     speed limit, as allowed for emergency vehicles under                  (19.4%)     (80.6%)
     state law.                                                    T2b        15          54                       59
                                                                           (21.7%)     (78.3%)
34   Did the member drive the vehicle in a manner to            T1            29         100
     preserve the safety and security of persons in custody?               (22.5%)     (77.5%)
                                                                T2            43         206                       1
                                                                           (17.3%)     (82.7%)
                                                                     T2a      19         103
                                                                           (15.6%)     (84.4%)
                                                                   T2b        24         103                       1
                                                                           (18.9%)     (81.1%)
35   Were sufficient officers present when moving               T1                       128                       1
     detainees from the transporting vehicle to the booking                           (100.0%)
     facility, or other locations that might afford the         T2             2         246                       2
     opportunity for the detainee’s escape or injury to the                 (0.8%)     (99.2%)
     officer/others?
36   Did the detainee escape the transporting member’s          T1              1       128
     custody at any time?                                                    (0.8%)   (99.2%)
                                                                T2             10       240
                                                                             (4.0%)   (96.0%)
37   Did the transporting member mark the video data            T1             20        37         69             3
     when the detainee entered and exited the vehicle’s                     (35.1%)   (64.9%)
     prisoner holding area?                                     T2             29        65         152            4
                                                                            (30.9%)   (69.1%)
                                                                     T2a       11        26         84             1
                                                                            (29.7%)   (70.3%)
                                                                   T2b         18        39         68             3
                                                                            (31.6%)   (68.4%)
38   Did the transporting member advise the arresting           T1              3                   71             55
     member of any activity captured on the TVC system                     (100.0%)
     that may be used for investigation/prosecution             T2              2                   156            92
     purposes?                                                             (100.0%)
39   Did the transporting member submit any seized/             T1              3                   121            5
     recovered property to the ECU before the completion                   (100.0%)
     of their tour of duty?                                     T2              1        2          242            5
                                                                            (33.3%)   (66.7%)


                                                                                                              44
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                                                        Time                          Not        Unable to
                     Scorecard Measure                            0         1
                                                       Period                       Applicable   Determine
40   Were the transporting members’ body-worn camera     T1                 129
     powered on, worn on the body at all times and                       (100.0%)
     activated for the duration of the transport?       T2         1        247                       2
                                                                (0.4%)    (99.6%)
41   Did the transporting member capture the entire     T1         1         53        71             4
     transport on the TVC system?                               (1.9%)    (98.1%)
                                                        T2         1         91        157            1
                                                                (1.1%)    (98.9%)




                                                                                                 45
